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 2
                        UNITED STATES DISTRICT COURT
 3                  FOR THE SOUTHERN DISTRICT OF FLORIDA
                               MIAMI DIVISION
 4

 5                               )
      ERICKA BRYANT,             ) Case No.:
 6                               )
 7
              Plaintiff,         )
          v.                     )
 8                               )
      BLUESTEM BRANDS INC. D/B/A ) JURY TRIAL DEMANDED
 9
      FINGERHUT,                 )
10                               )
                 Defendant.      )
11

12
                                       COMPLAINT
13
            ERICKA BRYANT (“Plaintiff”), by and through her attorneys, KIMMEL &
14

15
      SILVERMAN, P.C., alleges the following against BLUESTEM BRANDS, INC.

16    d/b/a FINGERHUT (“DEFENDANT”):
17
                                     INTRODUCTION
18

19          1.    Plaintiff’s Complaint is based on the Telephone Consumer Protection
20
      Act, 47 U.S.C. §227 et seq. (“TCPA”) and the Florida Consumer Collection
21
      Practices Act, Florida Statute §559.55 et seq. (“FCCPA”).
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 1                              JURISDICTION AND VENUE
 2
            2.     Jurisdiction of this Court arises under 28 U.S.C. § 1331, and for
 3
      pendant state law claims 28 U.S.C. § 1367. See Mims v. Arrow Fin. Services,
 4

 5    LLC, 132 S. Ct. 740, 747, 181 L. Ed. 2d 881 (2012)

 6          3.     Pursuant to 28 U.S.C. §1367(a), this Court has supplemental
 7
      jurisdiction over Plaintiff’s claims under the Florida Consumer Collection
 8
      Practices Act, Fla. Stat. (“FCCPA”), § 559.55, et seq., because those claims share
 9

10    a common nucleus of operative facts with Plaintiff’s claims under the TCPA. See
11
      LeBlanc v. Unifund CCR Partners, 601 F.3d 1185 (11th Cir. 2010).
12
            4.     Defendant regularly conducts business in the State of Florida, thus,
13

14
      personal jurisdiction is established.

15          5.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
16
                                              PARTIES
17
            6.     Plaintiff is a natural person residing in Miami, Florida 33147.
18

19          7.     Plaintiff is a “person” as that term is defined by 47 U.S.C. §153(39).

20          8.     Plaintiff is a “consumer” as defined by the FCCPA and is a person
21
      whom the act was intended to protect, FCCPA, Fla. Stat. § 559.55(8).
22
            9.     Defendant is a corporation with its principal place of business located
23

24    at 7075 Flying Cloud Drive, Eden Prairie, Minnesota 55344.

25          10.    Defendant is a “person” as that term is defined by 47 U.S.C. §
26

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 1    153(39).
 2
            11.    Defendant is a “creditor” as that term is defined in the FCCPA, Fla.
 3
      Stat. § 559.55(5).
 4

 5          12.    As a part of its regular business, Defendant attempts to collect debt

 6    from natural persons for amounts owed on Fingerhut credit accounts.
 7
            13.    Defendant acted through its agents, employees, officers, members,
 8
      directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
 9

10    representatives, and insurers.
11
                                FACTUAL ALLEGATIONS
12
            14.    Plaintiff has a cellular telephone number.
13

14
            15.    Plaintiff has only used this phone as a cellular telephone.

15          16.    Beginning in or about the summer of 2015 and continuing through
16
      the fall of 2017, Defendant placed repeated, continuous telephone calls to
17
      Plaintiff’s cellular telephone number.
18

19          17.    At all relevant times Defendant was seeking to collect an alleged

20    consumer debt from Plaintiff.
21
            18.   Defendant used an automatic telephone dialing system, automated
22
      message and/or prerecorded voice when contacting Plaintiff.
23

24          19.   Plaintiff knew that Defendant was using an automatic telephone

25    dialing system, automated message and/or prerecorded voice because when she
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 1    answered calls she would be greeted with either a recorded message identifying
 2
      Defendant before the call was transferred to a live representative or dropped.
 3
            20.   Defendant’s telephone calls were not made for “emergency purposes.”
 4

 5          21.   Desiring to stop the repeated telephone calls, Plaintiff spoke with

 6    Defendant’s agents and told them to stop calling her several times in 2016 and in
 7
      the spring of 2017.
 8
            22.   However, Defendant failed to update its records to restrict telephone
 9

10    calls to Plaintiff’s cellular telephone despite Plaintiff’s multiple requests to stop
11
      calling.
12
            23.   Despite requests to stop calling, Defendant continued to call Plaintiff
13

14
      on her cellular telephone up through the fall of 2017.

15          24.   Plaintiff found Defendant’s repeated automated calls to be invasive,
16
      harassing, frustrating, annoying, aggravating, and upsetting.
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            25.    Upon information and belief, Defendant conducts business in a
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19    manner which violates the TCPA and the FCCPA.

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 1                              COUNT I
               DEFENDANT VIOLATED THE TELEPHONE CONSUMER
 2
                             PROTECTION ACT
 3
            26.    Plaintiff incorporates the forgoing paragraphs as though the same were
 4

 5    set forth at length herein.

 6          27.    Defendant initiated multiple automated telephone calls to Plaintiff’s
 7
      cellular telephone number.
 8
            28.    Defendant initiated calls to Plaintiff’s cellular telephone using a pre-
 9

10    recorded or artificial voice.
11
            29.    Defendant initiated automated calls to Plaintiff using an automatic
12
      telephone dialing system.
13

14
            30.    Defendant’s calls were to Plaintiff were not made for “emergency

15    purposes.”
16
            31.    After Plaintiff told Defendant to stop calling, Defendant knew or
17
      should have known that it did not have consent to call and/or that any consent it
18

19    thought it had was revoked.

20          32.    Defendant’s acts as described above were done with malicious,
21
      intentional, willful, reckless, wanton and negligent disregard for Plaintiff’s rights
22
      under the law and with the purpose of harassing Plaintiff.
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 1          33.    The acts and/or omissions of Defendant were done unfairly,
 2
      unlawfully, intentionally, deceptively and fraudulently and absent bona fide error,
 3
      lawful right, legal defense, legal justification or legal excuse.
 4

 5          34.    As a result of the above violations of the TCPA, Plaintiff has suffered

 6    the losses and damages as set forth above entitling Plaintiff to an award of
 7
      statutory, actual and trebles damages.
 8

 9

10                            COUNT II
        DEFENDANT VIOLATED THE FLORIDA CONSUMER COLLECTION
11
                           PRACTICES ACT
12
           35.     Plaintiff incorporates the foregoing paragraphs as though the same
13

14
      were set forth at length herein.

15         36.     Any person attempting to collect a consumer debt violate § 559.72(7)
16
      by willfully communicating with the debt with such frequency as can reasonably
17
      be expected to harass the debtor or willfully engaging in other conduct which can
18

19    be reasonable excepted to abuse or harass, the debtor, such as causing a telephone

20    to ring or engaging any person in telephone conversation repeatedly or
21
      continuously with intent to annoy, abuse, or harass.
22
           37.     Defendant violated § 559.72(7) when it placed repeated and
23

24    continuous telephone calls to Plaintiff despite knowing its calls were unwanted

25    within the two year period preceding the filing of this Complaint.
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 2
                                     PRAYER FOR RELIEF
 3
         WHEREFORE, Plaintiff, ERICKA BRYANT, respectfully prays for a
 4

 5    judgment as follows:

 6                  a.      Statutory damages of $1,000.00 pursuant to Florida Consumer
 7
                            Collection Practices Act, Fla. Stat. §559.77;
 8
                    b.      Costs and reasonable attorneys’ fees pursuant to Florida
 9

10                          Consumer Collection Practices Act, Fla. Stat. §559.77;
11
                    c.      Actual damages suffered pursuant to 47 U.S.C. § 227(b)(3)(A);
12
                    d.      Statutory damages of $500.00 per violative telephone call
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14
                            pursuant to 47 U.S.C. § 227(b)(3)(B);

15                  e.      Treble damages of $1,500.00 per violative telephone call
16
                            pursuant to 47 U.S.C. §227(b)(3); and
17
                    f.      Injunctive relief pursuant to 47 U.S.C. § 227(b)(3); and
18

19                  g.      Any other relief deemed appropriate by this Honorable Court.

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21
                                 DEMAND FOR JURY TRIAL
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             PLEASE TAKE NOTICE that Plaintiff, ERICKA BRYANT, demands a
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24    jury trial in this case.

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 1                                 RESPECTFULLY SUBMITTED,
 2
      Dated: November 10, 2017     By: /s/ Amy L. Bennecoff Ginsburg
 3                                 Amy L. Bennecoff Ginsburg, Esq.
                                   Fla. Bar No.: 1002337
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                                   Ambler, PA 19002
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